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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                )
UNITED STATES SECURITIES                        )
AND EXCHANGE COMMISSION,                        )
                                                )
                       Plaintiff,               )       Civil Action No. 18-cv-5587
                                                )
v.                                              )       Hon. John Z. Lee
                                                )
EQUITYBUILD, INC., EQUITYBUILD                  )       Magistrate Judge Young B. Kim
FINANCE, LLC, JEROME H. COHEN,                  )
and SHAUN D. COHEN,                             )
                                                )
                       Defendants.              )
                                                )

                         RECEIVER’S FOURTH STATUS REPORT
                                (Second Quarter 2019)

         Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild,

Inc., EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome

Cohen and Shaun Cohen as defined in the Order Appointing Receiver (Docket No. 16) and Order

granting the Receiver’s Motion to Amend and Clarify Order Appointing Receiver to Specifically

Identify Additional Known Receivership Defendants (Docket No. 290) (collectively, the

“Receivership Defendants”), and pursuant to the powers vested in him by Order of this Court

entered on August 17, 2018, respectfully submits this Fourth Status Report for the quarter ending

June 30, 2019.

I.       SUMMARY OF THE OPERATIONS OF THE RECEIVER

         The Receiver, together with his legal counsel, Rachlis Duff Peel & Kaplan, LLC

(“RDPK”), accountants BrookWeiner, LLC (“BrookWeiner”) and Whitley Penn LLP (“Whitley

Penn”), forensic consultant Prometheum Technologies, Inc. (“Prometheum”), asset management
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and real estate brokerage services provider SVN Chicago Commercial, LLC (“SVN”), and

property tax appeal counsel Lauren D.W. Tatar, Esq., have undertaken, without limitation, the

following activities since the filing of his Third Status Report (Docket No. 348, filed April 30,

2019):

         a.     Identification and Preservation of Assets

         Since the filing of his Third Status Report, the Receiver continued using reasonable

efforts to determine the nature, location, and value of all property interests of the Receivership

Defendants, including monies, funds, securities, credits, effects, goods, chattels, lands, premises,

leases, claims, rights, and other assets, together with all profits, interest, or other income

attributable thereto, of whatever kind, which the Receivership Defendants owned, possessed, had

a beneficial interest in, or controlled directly or indirectly.

         There are 115 properties in the Receivership Estate, including 114 properties in Chicago,

one in Houston, and not counting properties in Naples, Florida and Plano, Texas that the

Defendants have used at times as residences. The Receiver’s primary focus has been and

continues to be the preservation, operation, maintenance, and sale of the real estate properties

within the Receivership Estate. These properties hold substantial value, which the Receiver

estimates exceeds $80 million. Preserving that value has required, and will continue to require,

significant property management efforts and a deliberate approach to liquidating them.

         From its inception, the Receivership Estate faced liquidity problems due in large measure

to the state of affairs that led to the lawsuit being filed against the Defendants. Assets seized by

the Receiver and rental income from the properties continue to provide only a limited degree of

liquidity to preserve, maintain, and operate the Receivership Estate’s real estate properties.

There are properties in the Receivership Estate that do not have enough operating income to




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cover all of their expenses, including for example to meet health and safety needs, to comply

with state court orders, to avoid being lost to tax sales, or to address other exigencies, thereby

creating some immediate cash shortages.

       The Receiver, in connection with his counsel, asset manager/real estate broker, and

property managers, worked to improve understanding and planning for cash flow needs for

underperforming properties, and controlling expenditures where possible. To that end, the

Receiver and his counsel regularly have communicated with property managers relating to

necessary expenditures for properties requiring approval by the Receiver (and in some cases,

requiring funds from the Receiver), and other operational questions.       The Receiver and his

retained professionals have reviewed monthly financial reporting and analyzing the cash position

of the Estate. The Receiver has communicated regularly with his real estate broker regarding

prioritization of expenses and repairs on the properties. Consistent with the Liquidation Plan he

filed with the Court (Docket No. 166), the Receiver remains committed, in accordance with the

advice of his retained professionals, the property managers, and asset management consultants,

and subject to availability of necessary funds, to undertake capital improvements that are needed

to address health and safety issues and cure outstanding building code violations or that are

demonstrably capable of yielding increases in occupancy that would drive commensurate

increases in property value.

       Prior to the inception of the Receivership, a number of the properties in the Receivership

Estate were delinquent in the payment of 2017 Cook County property taxes. Since that time, the

Receiver has worked to pay delinquent real estate taxes when possible. In the first instance, the

Receiver has looked to the properties themselves to determine whether they have generated

sufficient net operating income in order to pay taxes due. There are some properties for which




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the institutional lenders are holding funds in reserves for real estate taxes or for other purposes.

For certain of these properties that were unable to pay their own taxes, the Receiver has

requested the cooperation of the institutional lenders with respect to payment of real estate taxes.

In some cases, the Receiver has paid the real estate taxes out of funds in the Receivership

Account, giving priority to circumstances in which such a payment is necessary to avoid a

property becoming subject to a tax sale.

        At the end of the first quarter of 2019, twenty-four properties were delinquent in the

payment of 2017 real estate taxes in the collective amount of $406,428.05. In the second quarter

of 2019, all delinquent property taxes for 2017 were paid before the deadline after which

properties would have become eligible for tax sale. In addition to amounts paid out of operating

accounts held by the property managers (for properties with sufficient balances from net

operating income), the Receiver paid $230,628.07 from the Receivership Account towards

delinquent 2017 property taxes. (See Exhibit 1 Schedule of Receipts and Disbursements, n. 4

(Schedule of 2017 Property Taxes Paid by Receivership Account.))1

        The Receiver also has made significant payments for 2018 property taxes. As of July 19,

2019, $470,298.72 was paid towards the first installment and $354,758.60 was paid towards the

second installment. The outstanding balance for remaining 2018 property taxes on the portfolio

was $723,315.94 as of July 19, 2019. (Attached as Exhibit 2 is a spreadsheet that includes 2018

property taxes on a property-by-property basis as of July 19, 2019.)2




1
  The Receiver intends to request that funds paid out of the Receivership Account to advance real
estate taxes for any properties be reimbursed to the Receivership Account out of sales proceeds
when the properties are sold.
2
  On July 24, 2019, property taxes were paid on the following properties: 7109 S. Calumet
($6,982.91), 6751 S. Merrill ($10,159.98), 5618 S. Martin Luther King Drive ($11,711.97), and
6558 S. Vernon ($7,858.59)


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        Additionally, the Receiver’s property tax appeal counsel, Lauren D.W. Tatar, Esq.,

pursued property tax appeals on 16 properties and achieved reductions in assessed values on a

number of the properties in the Receivership Estate, translating to approximately $34,908.38 in

projected savings on 2018 property tax liability.3 (Attached as Exhibit 3 is a chart of projected

savings on 2018 property tax liability)

        With respect to the property at 1102 Bingham Street, Houston, TX 77007, which had

delinquent taxes of $67,247.76, the Receiver negotiated a partial payment agreement whereby

$5,603.98 will be paid monthly for twelve months, beginning on May 31, 2019 with the last

payment to be made on April 30, 2020.

        The Receiver is maintaining casualty and liability insurance for all assets in the portfolio.

The Receiver and his counsel worked with the insurance broker regarding the renewal and

replacement of property insurance and liability and umbrella coverage in May 2019. The down

payment cost for these insurance renewals was $230,082.80. The monthly installments are

currently $41,599.90 and, as properties are sold over time, the monthly costs will be gradually

reduced. The Receiver and his counsel also worked with the insurance broker to obtain updated

records regarding claims history and pending claims, and addressed certain adjuster inquiries

relating to pending claims.

        With respect to outstanding water bills, which the Receiver had addressed in the Third

Status Report (Docket No. 348 at 21), the Receiver’s counsel remained in frequent

communication with the City of Chicago during the second quarter of 2019, working to avoid

interruptions in service for the delinquent buildings, and met with several attorneys and others


3
 Pursuant to the Receiver’s contingent fee agreement with his property tax appeal counsel, the
Receiver must pay a contingent fee of $3,490.84 (10% of the property tax savings). The
Receiver intends on including these professional fees in the fee application covering the Fourth
Quarter of 2018.


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from the City’s finance and water department relating to these accounts. In connection with

those efforts, the Receiver’s counsel negotiated payment plans to avoid shutoffs for properties

with past due balances, pursuant to which the Receiver has been making timely payments on

water bills.

        A substantial number of properties in the portfolio have code violations that involve

conditions pre-existing the establishment of the Receivership. The Receiver and his counsel

continue to work closely with the City’s corporation counsel for each department (circuit court,

buildings, and streets and sanitation) to address all open building code violations, to address life

and safety issues, and to preserve the respective properties. The property managers have also

been assisting in the defense of a thicket of administrative and housing court actions alleging

building code violations of widely varying levels of severity filed by the City of Chicago. The

Receiver’s counsel appeared on City of Chicago related matters on thirteen occasions during the

second quarter 2019. As of June 30, 2019, there were approximately 38 known open code

violations involving City of Chicago matters.

        During this time period, there were nine known City of Chicago municipal housing court

matters. Issues raised in these matters included but are not limited to:

        •      Replacement of a California-style porch at 8107 S. Ellis and demolition of the
               same at 7760 S. Coles for which the Receiver paid $24,250 for the required work
               during the second quarter of 2019. As for the porch at 7760 S. Coles, the
               demolition and clean up were completed in early June 2019. A porch at 8107 S.
               Ellis was completed and passed inspection during the third quarter of 2019.

        •      As stated in previous status reports, one porch replacement was completed and
               passed inspection at 2453 E. 75th. Other violations cited at this property included
               electrical work, basement clean up, and a requirement that plans and permits be
               obtained for work done under previous ownership. Following actions of the
               Receiver, his counsel, and the property manager, this housing court action was
               dismissed by the court without prejudice on July 18, 2019. The court’s order
               includes a requirement that the owner must secure as built plans for the entire
               building by August 1, 2020.


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       •       For the property at 7110 S. Cornell, cited violations relate to masonry and tuck-
               point work. The Receiver authorized installation of scaffolding to protect the
               sidewalk and pedestrians, which remains in place. This property is currently
               listed for sale.

       •       Three porches at 6751 S. Merrill will require repair and/or replacement. The
               Receiver has made interim repairs and posted signage regarding porch conditions.
               This property is currently listed for sale.

       •       For the property at 7300 S. Saint Lawrence, the Receiver authorized repair of
               loose bricks pursuant to a May 2, 2019 housing court order. This property also
               will require installation of an emergency lighting system.

       •       For the property at 2909-19 E. 78th, during the months of May and June 2019, the
               Receiver authorized completion of work in connection with the building’s
               parapet, including minor parapet repairs, roof repairs, and cleanup. This property
               is currently under contract for sale.

       •       For the property at 7237 S. Bennett, cited violations will require bringing a
               basement unit that is currently not in use to compliance. The Receiver also
               authorized the installation of steel doors on the vacant tiers of this property to
               secure the building. This property is currently under contract for sale.

       •       During the second quarter of 2019, there also were open housing court matters
               with respect to the properties at 8100 S. Essex, 6160 S. King Drive, and 7933 S.
               Essex. These properties have since been sold.

       As of June 30, 2019, approximately seventeen City of Chicago administrative

proceedings filed by the City of Chicago Buildings Department were known to be pending,

approximately eleven administrative proceedings were known to be pending with the

Department of Streets and Sanitation, and one administrative proceeding was known to be

pending with the Department of Water Debt (which was non-suited for compliance at the July

27, 2019 court date).

       b.      Closings on the First Tranche of Properties

       The Receiver closed on the sale of six multi-family residential apartment buildings during

the second quarter of 2019. The gross sales proceeds from these six properties was $7,695,00.00



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and the net sales proceeds were $6,668,396.88 In particular, the properties at 7500-06 S.

Eggleston Avenue, Chicago, IL 60620 and 7549-59 S. Essex Avenue, Chicago, IL 60620 closed

April 26, 2019. Proceeds from the same of these properties (in the amount of $868,875.85 for

7500 S. Eggleston and $1,095,800.40 for 7547 S. Essex) were deposited in the Receiver’s

operating account. The properties at 8100-14 S. Essex Avenue, Chicago, IL 60617 and 6160-

6212 S. King Drive, Chicago, IL 60637 closed April 30, 2019. The property at 7927-49 S. Essex

Avenue, Chicago, IL 60617 closed May 1, 2019. The property at 5001-05 S. Drexel Boulevard,

Chicago, IL 60615 closed May 22, 2019. The Receiver segregated proceeds from the sale of

these properties (in the amount of $887,701.86 for 8100 S. Essex, $532,278.72 for 6160 S. King

Drive, $704,568.91 for 7927-49 S. Essex, and $2,579,171.14 for 5001 S. Drexel) in separate

subaccounts on a property-by-property basis.

       c.      Sale of the Second and Third Tranches of Properties

       During the first quarter of 2019, the Receiver sought Court approval to list 27 properties

for public sale. (Docket No. 248 at pp. 5-8) In particular, on February 15, 2019, the Receiver

sought court approval to list 12 properties for sale. (Docket No. 228) Certain of these properties

were not encumbered with any debt, while others had EBF affiliate and/or institutional debt.

Several institutional lenders objected to the Receiver’s motion on myriad grounds, including that

there was no opportunity to credit bid. (Docket Nos. 232, 235, and 240) Following a hearing on

May 2, 2019, Magistrate Judge Kim granted the Receiver’s sales approval motion, after

sustaining one objection and affording all lenders a right to credit bid. (Docket No. 352)

Thereafter, several institutional lenders filed objections to the May 2, 2019 Order. (Docket Nos.

359 and 362)




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       On April 18, 2019, the Receiver filed three more motions for Court approval to list 15

additional properties for sale. (Docket Nos. 325, 327, and 329) The Receiver also filed an

amendment to these motions to account for the Court’s May 2, 2019 Order allowing lenders an

opportunity to credit bid. (Docket No. 361) The institutional lenders filed objections to the

Receiver’s fifth motion to sell properties in which they set forth essentially the same arguments

they had raised in response to the second sales process motion. (Docket Nos. 333, 365, and 370)

The Court granted the Receiver’s third and fourth motions to list properties for sale, thus

allowing the Receiver to list both unencumbered properties and those encumbered with EBF

affiliate debt. (Docket No. 378) On May 22, 2019, the Court granted the Receiver’s fifth motion

to sell properties (which included an opportunity to credit bid) thus allowing the Receiver to list

the properties encumbered with institutional lender debt.         (Docket No. 382) Additional

objections were filed subsequent to May 22, 2019 (see Docket Nos. 398, 404, 418, and 430) and

further hearings before the Court were scheduled. Following a series of discussions, Liberty and

the Receiver agreed upon certain credit bid procedures, which were later accepted by Magistrate

Judge Kim as he overruled other objections pursued by the other institutional lenders. As such,

following the considerable objections, motions, and other activities initiated by the institutional

lenders, the Receiver is moving forward with the sale of properties for which the Court has

approved listing and incorporating into the sales procedures the credit bid procedures that the

Court has approved.

       In June 2019, the Receiver listed the following properties for sale: the foregoing

properties are either unencumbered or encumbered with EBF affiliate debt.             Notice was

published in a paper of general circulation on June 5, June 12, June 19, and June 26, 2019. The




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call for offer date was June 27, 2019 and the Receiver is currently under contract with the

purchaser for each property.

            •   2909-19 E. 78 Street, Chicago, IL 60649
            •   701 S. 5th Avenue / 414 Walnut, Maywood, IL 60153
            •   3030 E. 79th Street, Chicago, IL 60649
            •   7301-09 S. Stewart Avenue, Chicago, IL 60621
            •   8047-55 S. Manistee Avenue, Chicago, IL 60617
            •   5955 S. Sacramento Avenue, Chicago, IL 60629
            •   6001 S. Sacramento Avenue, Chicago, IL 60629
            •   7237-43 S. Bennett, Chicago, IL 60649
            •   7834-44 S. Ellis Avenue, Chicago, IL 60649
            •   7026-42 S. Cornell Avenue, Chicago, IL 60649

        In July 2019, the Receiver listed the following properties for sale: the foregoing

properties are encumbered with institutional debt, and certain are also encumbered with EBF

affiliate debt. Notice was published (or will be published) in a paper of general circulation on

July 19, July 26, August 2, and August 9, 2019 for which the call for offer date is August 14,

2019.

        •   638-40 N. Avers Avenue, Chicago, IL 60624
        •   4520-26 S. Drexel Blvd, Chicago, IL 60653
        •   6751-57 S Merrill Avenue, Chicago, IL 60649
        •   6949-59 S. Merrill Avenue, Chicago, IL 60649
        •   7109-19 S Calumet Avenue, Chicago, IL 60619
        •   7110-16 S Cornell Avenue, Chicago, IL 60649
        •   7450 S Luella Avenue, Chicago, IL 60649
        •   7546 S Saginaw Avenue, Chicago, IL 60649
        •   7600 S Kingston Avenue, Chicago, IL 60649
        •   7625-33 S East End Avenue, Chicago, IL 60649
        •   7635-43 S East End Avenue, Chicago, IL 60649
        •   7656 S Kingston Avenue, Chicago, IL 60649
        •   7748-50 S Essex Avenue, Chicago, IL 60649
        •   7749 S Yates Boulevard, Chicago, IL 60649
        •   7750-58 S Muskegon Avenue, Chicago, IL 60649
        •   8201 S Kingston Avenue, Chicago, IL 60617
        •   8326-58 S Ellis Avenue, Chicago, IL 60619




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       The Receiver anticipates soon filing additional motions related to the sale of other

properties in the Estate, including but not limited to the single home portfolio.

       d.      Notice of Appointment of Receiver

       The Receiver continued his efforts to notify all necessary and relevant individuals and

entities of the appointment and to protect and preserve the assets of the Receivership Estate. To

that end, as they are identified, the Receiver continues to deliver notices to, inter alia, creditors,

government entities, and other individuals or entities which have been identified as potentially

having possession of the property, business, books, records, or accounts of the Receivership

Defendants, or who may have retained, managed, held, insured, or encumbered, or had otherwise

been involved with any of the assets of the Receivership Defendants.

       e.      Investor Communications

       There are numerous ways for investors to stay informed. To ease the burden and provide

basic information, the Receiver established a webpage (http://rdaplaw.net/receivership-for-

equitybuild) for investors and other interested parties to obtain information and certain court

filings related to the Receivership estate. A copy of this Status Report will be posted on the

Receiver’s webpage. The Receiver, in connection with Prometheum, is currently exploring

improvements and potential ways to redesign this webpage in order to streamline information for

investors and other interested parties and improve communications.

       In addition, court filings and orders are also available through PACER, which is an

electronic filing system used for submissions to the Court. Investors or others seeking court

filings and orders can visit www.ilnd.uscourts.gov for information about accessing filings

through PACER.




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       Beyond those avenues, the Receiver has received and responded to thousands of emails

and voicemails from investors and others.        He and his staff continue to respond to these

communications in as timely and practicable a way as possible, but has asked investors for

patience during this lengthy process because responding to individual inquiries depletes

Receivership assets. The Receiver and his staff also are presently devoting substantial attention

to over 2,000 submissions received as part of the claims process. The Receiver will continue to

work to ensure that information is available and/or otherwise provided as quickly and completely

as practicable.

       f.         Control of Receivership Property and Records

       The Receiver has continued efforts to locate and preserve all EquityBuild property and

records. Since the Third Status Report, the Receiver and his forensic consultant Prometheum

worked to recover and preserve data from two additional records platforms. The Receiver,

working with Prometheum, is presently maintaining three platforms of records and data.

       g.         Securing Bank and Investment Accounts

       The Receiver notified, contacted, and conferred with the banks and other financial

institutions the Receiver identified as having custody or control of funds, accounts, or other

assets held by, in the name of, or for the benefit of, directly or indirectly, the Receivership

Defendants.       The Receiver is still waiting for certain institutions to provide complete

information.

       h.         Factual Investigation

       The Receiver and his retained professionals have continued to review and analyze the

following: (i) documents and correspondence sent to or received from the EquityBuild

principals, to whose email accounts the Receiver has access; (ii) bank records from EquityBuild




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and its affiliate entities; (iii) EquityBuild documents (largely stored in cloud-based and other

electronic media, although some hard copy records); (iv) available underlying transaction

documents contained in the files of former Chicago-based EquityBuild counsel received to date;

and (v) files produced by former EquityBuild counsel, accountants, and employees.

           The Receiver also served subpoenas on the title companies involved in EquityBuild real

estate transactions, former EquityBuild attorneys or other counsel involved in EquityBuild

matters, and a real estate firm, and received responsive documents from all but one of these third

parties.

           i.     Institutional Lenders

           Since filing his Third Status Report, the Receiver and his retained professionals continue

to maintain regular contact with the institutional lenders to share material information relating to

the properties, including information relating to marketing sales of certain properties, as well as

to respond to myriad inquiries (typically, daily) including questions regarding financial

reporting, property access for inspections, status of city violations, evidence of insurance, and

other matters relating to the management and financial and physical condition of the various

properties.      As with the investors, the Receiver has attempted to streamline and reduce

communications in an effort to strike a reasonable and appropriate balance between cost

effectiveness and responsiveness.

           During the second quarter of 2019, the Receiver, working in connection with his counsel,

accountants, asset manager/real estate broker, and property managers, implemented steps in

compliance with the February 13, 2019 Order regarding segregation of rents. The Receiver is

providing institutional lenders with monthly accounting reports relating to rents from each

property as required by the February 13, 2019 Order. To date, monthly reports with respect to 89




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properties have been sent to lenders’ counsel for the periods ended March 31, April 30, and May

31, 2019. Reports for each property include, for each month beginning in August 2018: (a)

information about net operating income based upon reporting from the respective property

managers, (b) information about expenditures made by the Receiver for the benefit of the

property (primarily for insurance, real estate taxes, and funds sent to the property manager to

cover expenses not covered by net operating income from the property), and (c) amounts from

net rental income distributed from the property to the Receiver or to other properties, amounts

contributed to the property by the receivership and by other properties, and a calculation of the

amount (if any) of rentals remaining to be restored to the property under the February 13, 2019

Order. Each report is sent with a detailed explanation of the contents of the related report and

the calculation of rentals to be restored. A summary of the information contained in these

reports is attached as an exhibit to a recent motion filed by the Receiver regarding the use of

sales proceeds for rent restoration. (Docket No. 460)

       The Receiver also analyzed sources of funds available for restoration of rents to affected

properties. The total amount to be restored was $767,192,75 as of February 28, 2019, and had

been reduced to $618,505.64 as of May 31, 2019, amounting to more than 19% of the rent

restoration amount originally due. Moreover, as of May 31, 2019, rent had been fully restored to

six of the properties to which rent restoration was due. The Receiver also filed a motion seeking

to use $54,102.21 in funds from a sold property (6160 S. King Drive) to restore rent. (Docket

No. 460) If the Court grants this motion, the Receiver will have restored $202,789.32, which is

over 26% of the total amount to be restored — and this does not include additional amounts

restored since May 31, 2019, which will be reflected in subsequent reports.




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       Beyond these contacts, the institutional lenders have filed numerous motions that object

to various activities of the Receivership, including but not limited to the process for the sale of

properties and the approval of those sales. These motions have led to a significant number of

hearings and appearances before the Court, and have significantly slowed the process for the sale

of the properties. The institutional lenders’ motions also have frequently sought to relitigate and

retread issues that have already been addressed or resolved by the Court. In addition to the

significant increase in costs due to legal fees occasioned by their tactics, the delay in listing and

selling properties occasioned by the institutional lenders’ efforts has greatly increased the costs

of preserving and maintaining properties until they are sold. With those objections largely

overruled, and consistent with the advice of his professionals, the Receiver is moving forward

with the process for selling properties as expeditiously as possible.

       j.      Other Receivership Assets

       As previously reported, the Receiver filed a motion to amend the Order Appointing

Receiver to clarify that a property in Naples, Florida that Defendant Jerome Cohen and his

spouse previously used as a home and a bank account in their names are Receivership Assets.

(Docket No. 348 at 12) Cohen challenged the Receiver’s position that the Naples, Florida

property is a Receivership Asset. (Docket Nos. 301 and 356) The Receiver and his retained

accountant conducted a forensic accounting and tracing analysis with respect to this property,

determined the asset was funded with investor funds, and accordingly, filed a motion to amend

the Order Appointing Receiver to expressly identify and include specific Receivership Assets,

asserting therein the Naples property and a bank account in the name of Jerome Cohen and his

spouse are Receivership Assets. (Docket No. 265) Following briefing on this motion, Magistrate

Judge Kim held an evidentiary hearing on July 10, 2019. Jerome Cohen did not attend the




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hearing. Following Jerome Cohen’s filing as to his failure to attend the hearing, Judge Kim

issued an order setting a further hearing on August 14, 2019 at which time Cohen is to appear to

be examined by the Receiver’s counsel and the Court. (Docket No. 457)

        The Receiver also continues to evaluate whether certain non-Illinois properties are or

should be considered Receivership Assets and thus subsumed within the Estate. These include

properties that have or may have been purchased with EquityBuild investor funds. Based on

evidence gathered to-date, and as stated in previous status reports, these include without

limitation properties in Plano, TX, and Jackson, MS.

        Shaun Cohen disclosed a life insurance policy held in trust with a cash surrender value of

$100,000. The Receiver asserted the policy is an asset of the Receivership Estate. Shaun

Cohen’s position is the policy is outside the Receivership Estate. Jerome Cohen also has a life

insurance policy but has failed to cooperate with the Receiver and provide information in regards

to that asset.

        k.       Open Litigation

        During the second quarter 2019, the Receiver – working with his counsel and

EquityBuild’s counsel – completed written discovery responses in the matter captioned Byrd v.

EquityBuild, et al., Case No. 18 L 973, Circuit Court of Cook County, Law Division.

        l.       Tax Issues

        With respect to tax implications relating to the Defendants’ scheme, the Receiver cannot

advise the investors on tax matters and informed investors accordingly by the letter sent on

September 21, 2018. Moreover, the Receiver and his retained professionals do not plan to issue

1099-INT’s. With respect to valuation, loss, or other tax issues, investors and their tax advisors

may wish to seek independent tax advice and consider IRS Rev. Proc. 2009-20 and IRS




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Rev. Rul. 2009-9. For 2018 tax returns, investors and their tax advisors may wish to consult

Page 6 of the instructions to Form 4684.

        Whitley Penn was retained to prepare income tax returns for EquityBuild and its affiliates

for the tax years 2016 and 2017. Whitley Penn continues to report that its efforts have been

significantly challenged by EquityBuild’s information and record keeping practices. Whitley

Penn has stated that it is working to obtain documents and information in order to prepare and

file what it presently anticipates as 32 tax returns.4 Twelve entities were previously classified as

having an undetermined tax filing status but based on further information from former

EquityBuild employees, Whitley Penn determined these entities do not have a filing

requirement.5    As to the entities for which a return is being prepared, Whitley Penn has

compiled income and expense reports for a majority of the entities. Whitley Penn states that

there are numerous missing items needed to accurately report balance sheet activity for these

entities, and the Receiver is actively working to attempt to provide that information. Whitley

Penn expects returns for those entities in which complete data is available to be filed by August

30, 2019.



4
  These thirty two entities are 11318 S Church St Associates, 1401 W 109th Associates, 1516 E
85th Pl Associates, 4750 Indiana LLC, 4755 S Saint Lawrence Associates, 526 W 78th LLC,
6759 S Indiana Associates, 6807 S Indiana Associates, 8809 S Wood Associates, 1700 W
Juneway LLC, 4533-37 S Calumet LLC, 5450 S Indiana LLC, 7749-59 S Yates LLC, South Side
Development Fund 1 LLC, South Side Development Fund 4 LLC, South Side Development
Fund 5 LLC, SSDF1 Holdco 2 LLC, SSDF2 Holdco 3 LLC, SSDF3 Holdco 1, SSDF4 Holdco 1
LLC, SSDF4 Holdco 2 LLC, SSDF4 Holdco 3 LLC, SSPH Portfolio 1 LLC, Equitybuild Inc.,
3400 Newkirk LLC, South Side Development Fund 3 LLC, SSDF1 Holdco 1 LLC, SSDF2
Holdco 1, SSDF3 Holdco 2 LLC, SSDF5 Holdco 1 LLC, SSPH Holdco 1, and SSDF2 Holdco 2
LLC.
5
  These twelve entities are 1422 E 68th LLC, 7107-29 S Bennett LLC, 7823 Essex LLC, EB
South Chicago 1 LLC, EB South Chicago 1 Manager LLC, EB South Chicago 2 LLC, SSDF2
Holdco 2 LLC, SSDF5 Holdco 2 LLC, SSPH Holdco 2 LLC, 1632 Shirley LLC, 8217
Dorchester LLC, and Hybrid Capital Fund LLC.



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       Additionally, BrookWeiner was retained to perform accounting, tax, and related work

regarding assets of the Receivership Defendants such as the accounting for ongoing business

operations of the Receivership Defendants. BrookWeiner compiled monthly property statements

and property spreadsheets, worked to close payroll tax accounts with various states, and assisted

with cash flow analysis matters.

       m.      Accounts Established by Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash equivalent Receivership property. The interest-bearing checking account is used by

the Receiver to collect liquid assets of the Estate and to pay the portfolio-related and

administrative expenses. The Receiver also established separate interest-bearing accounts for the

purpose of depositing and holding funds from the sale of real estate encumbered by secured debt

until such time as it becomes appropriate to distribute such funds, upon Court approval, to the

various creditors of the Estate, including but not limited to the defrauded investors or lenders.

II.    RECEIVER’S FUND ACCOUNTING

       The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Second Quarter

2019 is attached hereto as Exhibit 4. The SFAR sets forth the funds received and disbursed

from the Receivership Estate during this reporting period. As reported in the SFAR, the amount

of cash on hand as of June 30, 2019 was $1,023,577.44. The information reflected in the SFAR

is based on records and information currently available to the Receiver. The Receiver and his

advisors are continuing with their evaluation and analysis.

III.   RECEIVER’S SCHEDULE OF RECEIPTS AND DISBURSEMENTS

       The Receiver’s Schedule of Receipts and Disbursements (“Schedule”) for the Second

Quarter 2019 is attached hereto as Exhibit 1. The Schedule reflects $2,316,305.78 in receipts




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and $1,292,728.44 in disbursements as of June 30, 2019.            Investors, creditors, and other

interested parties are encouraged to review this Schedule for detailed information of

disbursements on a property-by-property basis.

IV.    RECEIVERSHIP PROPERTY

       All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit 5. The Receiver previously set forth a list of real estate within the

Receivership Estate in his First Status Report. (See Docket No. 107, Exhibit 1)

       The Master Asset List identifies 53 checking accounts in the names of the affiliates and

affiliate entities included as Receivership Defendants, reflecting a total amount transferred to the

Receiver’s account of $105,870.94.        (See also Docket No. 348 at 23-24 for additional

information relating to these funds.)

       The Master Asset List does not include assets and potentially recoverable assets for

which the Receiver is still evaluating the value, potential value, and/or ownership interests. The

Receiver is in the process of evaluating certain other types of assets that may be recoverable by

the Receivership Estate, including but not limited to charitable donations, loans, gifts,

settlements for which payment has not yet been received, and other property given to family

members, former employees, and others.

V.     LIQUIDATED   AND   UNLIQUIDATED                       CLAIMS        HELD        BY     THE
       RECEIVERSHIP ESTATE

       The Receiver and his attorneys are in the process of analyzing and identifying potential

claims, including, but not limited to, potential fraudulent transfer claims and claims for aiding

and abetting the fraud of the Receivership Defendants.




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VI.    CREDITORS AND CLAIMS AGAINST THE RECEIVERSHIP ESTATE

       On May 1, 2019, Magistrate Judge Kim granted the Receiver’s motion for entry of an

order establishing claims bar date and approving claims process, and set a Bar Date of July 1,

2019. (Docket No. 349) Following entry of this Order, the Receiver sent email correspondence

to all known potential claimants to obtain an updated mailing address for this claims notice. The

Receiver also searched EquityBuild records to determine last known mailing addresses for

potential claimants. The Receiver then sent notice of the claims process by U.S Mail through

Axos Fiduciary Services on May 22, 2019. Axos Fiduciary Services sent more than 900 notices

by U.S. mail, and the Receiver sent additional notices also by U.S. mail. The Receiver also sent

reminder emails to all known potential claimants for which he had a valid email address on May

23, 2019, June 13, 2019, and June 24, 2019 to remind potential claimants of the Bar Date, the

requirements for submitting a claim, and to provide a direct link to the Axos Claims Portal for

claimants to complete and submit their claims.

       Moreover, Prometheum updated the Receivership webpage to include a claims section

with the Bar Date displayed prominently. This section included a link to the Axos claims portal,

copies of the claims notice, general instructions, proof of claim form, and a link to contact an

email account the Receiver established for questions or technical issues during the claims

process. The Receiver and his staff received approximately 640 emails to this account and sent

approximately 520 emails from this account during the second quarter of 2019. The Receiver

and his staff used their best efforts to respond to each claimant’s questions in a timely and

appropriate fashion.




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       The Receiver will file preliminary status reports relating to the claims process and claims

received on August 1, 2019 and August 15, 2019. (Docket No. 349) The Court has set a status

hearing relating to the claims process for August 22, 2019.

       As of this filing, the Receiver has received approximately 2,000 claims submissions.

Claims were received through the Axos claims portal, by email, by courier, and through the U.S.

mail. Some claimants submitted information by more than one means; and some claimants made

multiple submissions. The Receiver is currently in the process of evaluating the submitted

claims so that an accurate number of claimants, amounts claimed, and description of the nature

of the claims received can be reported to the Court. The Receiver also is working to identify

undisputed claims and develop a process for expeditiously resolving disputed claims.

       The Receiver anticipates a process that will provide for a report to the Court as to all

claims, classifying them as to disputed or undisputed, and recommending to the Court a process

for resolving disputes among claims that is expeditious and fair. Neither all claims, nor all

disputes, will require the same process. The Receiver anticipates that some claims can and

should be resolved through summary proceedings while other claims and disputes will require

more substantive consideration, potentially including discovery. The Receiver is considering

ways to address claims and issues on collective or representative bases that would allow for a

more cost effective and expeditious determination of claims and issues surrounding them. The

Receiver also anticipates one or more filings for the Court in which the Receiver will set forth

his recommendations as to the claims and the Receiver’s proposal for a just and fair distribution

plan, along with a process by which objections can be submitted to the Receiver, evaluated by

the Receiver, and resolved by the Receiver without the need for the Court’s time and attention

where and when possible; after which the Receiver would submit a report to the Court on the




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status of all objections that require the Court’s time and attention, along with an opportunity for

claimants to respond to the Receiver’s report, if necessary.

        The Receiver presently expects that the soonest he could propose a comprehensive

distribution plan to the Court following a claims process would be in the second half of 2020.

However, there may be exceptions that would allow for interim distributions in certain

circumstance, for example, where there are undisputed claims. Distribution of funds pursuant to

a distribution plan would depend on when funds have been received by the Receivership Estate

and the Receiver’s recommendation to the Court on priority for properties where priority is in

dispute, including with respect to claims pursued by the Receiver (with Court approval). That

timing remains too speculative at this point for the Receiver to project with reasonable certainty.

VII.    PROJECTED FUTURE EXPENSES

        The Receiver filed a fee application for professional fees for the third quarter of 2018.

(Docket No. 411) Certain institutional lenders filed objections to this fee application (Docket

Nos. 438 and 442) and a hearing before Judge Lee is currently scheduled for September 25,

2019. The Receiver also plans to file a fee application for the fourth quarter of 2018 and first

quarter of 2019 within the coming weeks as well as for subsequent quarters thereafter. The

Receiver presently anticipates professional fees and expenses for the fourth quarter of 2018 and

first quarter of 2019 in the following approximate amounts:6

           •   $120,471.00 in professional fees for the Receiver during the 4th quarter of 2018;

           •   $386,963.00 in professional fees and expenses of $6,052.09 for the Receiver’s

               counsel, RDAPK, during the 4th quarter of 2018;



6
  The approximate professional fees may differ from amounts that will be set forth once the
Receiver’s fee applications are prepared. However, the Receiver believes the foregoing amounts
are reasonable approximations at this time.


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              •   $114,478.00 in professional fees for the Receiver during the 1st quarter of 2019;

              •   $464,742.80 in professional fees and $3,024.01 in expenses for the Receiver’s

                  counsel, RDPK, during the 1st quarter of 2019;

              •   Professional fees of $21,642.50 for BrookWeiner during the 4th quarter of 2018;

              •   Professional fees of $21,102.00 for BrookWeiner during the 1st quarter of 2019;

              •   Professional fees of $8,538.50 for Prometheum during the 3rd and 4th quarters of

                  2018 and $1,599.67 during the 1st quarter of 2019;

              •   Professional fees of $3,490.84 for the Law Firm of Lauren D. W Tatar, Esq.

                  during the 4th quarter of 2018;

              •   Professional fees of $15,899.00 for Whitley Penn during the 4th quarter of 2018;

                  and

              •   Professional fees of $1,808.00 for Whitley Penn during the 1st quarter of 2019.

 VIII. CONCLUSION

         At this time, the Receiver recommends the continuation of the Receivership for at least

the following reasons:

         1.       Preservation, maintenance, and operation of the assets in the Receivership Estate

 including but not limited to the real estate assets;

         2.       The continued investigation and analysis of assets and potentially recoverable

 assets for which the Receiver is still evaluating the value, potential value, and/or ownership

 interests;

         3.       The continued efforts of the Receiver to liquidate various assets of the

 Receivership Estate;




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       4.      The continued investigation and analysis of the potential claims against the

Receivership Estate, including, but not limited to, the claims and records of investors;

       5.      The continued investigation, analysis, and recovery of potential fraudulent

transfer claims and claims against third parties relating to the Receivership Estate;

       6.      The continued analysis and formulation, in consultation with the SEC, of a just

and fair distribution plan for the creditors of the Receivership Estate, and the subsequent notice

to investors and potential claimants, and submission of a motion for Court approval, of such

plan; and

       7.      The carrying out of any other legal and/or appointed duties of the Receiver as

identified in the August 17, 2018, Order Appointing Receiver, or as the Court deems necessary.



Dated: July 31, 2019                                  Kevin B. Duff, Receiver

                                              By:     /s/     Michael Rachlis

                                                      Michael Rachlis (mrachlis@rdaplaw.net)
                                                      Nicole Mirjanich (nm@rdaplaw.net)
                                                      Rachlis Duff Peel & Kaplan, LLC
                                                      542 South Dearborn Street, Suite 900
                                                      Chicago, IL 60605
                                                      Phone (312) 733-3950; Fax (312) 733-3952




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                                CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Fourth Status Report,

via ECF filing, to all counsel of record on July 31, 2019.

       I further certify I caused to be served the Defendant Jerome Cohen via e-mail:

       Jerome Cohen
       1050 8th Avenue N
       Naples, FL 34102
       jerryc@reagan.com
       Defendant



                                                     /s/ Michael Rachlis

                                                     Michael Rachlis
                                                     Rachlis Duff Peel & Kaplan, LLC
                                                     542 South Dearborn Street, Suite 900
                                                     Chicago, IL 60605
                                                     Phone (312) 733-3950
                                                     Fax (312) 733-3952
                                                     mrachlis@rdaplaw.net




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                          EXHIBIT 1
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                                                               Exhibit 1

                                        EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT
                                                      Second Quarter 2019
                                             Schedule of Receipts and Disbursements



Beginning Balance
4/1/19                                                                                      $232,751.46

RECEIPTS

                                 Received From                    Amount
                                 Corporate tax refunds from IRS,
                      4/3/2019   IL State                                 $716.61
                                 Proceeds from sale of 7549-59 S.
                     4/26/2019   Essex                              $1,095,800.40
                                 Proceeds from sale of 7500-08 S.
                     4/26/2019   Eggleston                            $868,875.85
                                 Interest earned on Receiver's
                     4/30/2019   account                                  $191.34
                                 Reimbursement of funds from
                                 property closings for payment of
                      5/2/2019   final water bills⁵                    $80,245.56
                                 Refund from WPD of
                                 overpayment on taxes for 7500 S
                      5/2/2019   Eggleston                             $23,517.24
                                 Interest earned on Receiver's
                     5/31/2019   account                                  $678.05
                                 Refund from Rosenthal Bros of
                                 insurance premiums for sold
                     6/24/2019   properties                            $13,080.00
                                 Interest earned on Receiver's
                     6/30/2019   account                                  $449.27



                                 TOTAL RECEIPTS:                                           $2,316,305.78

DISBURSEMENTS

                                 Paid To                           Amount
                                 Paper Street (property
     Wire Transfer    4/2/2019   management expenses)¹                ($25,000.00)
                                 Paper Street (utilities: 7201 S
                                 Constance-$3875; 7656 S
     Wire Transfer    4/5/2019   Kingston-$3233)                       ($7,108.00)
                                 Paper Street (property
     Wire Transfer   4/11/2019   management expenses)²                ($25,000.00)
                                 IDES (interest on late payment of
            Check    4/12/2019   employment taxes)                        ($18.05)
                                 Paper Street (utilities:7546
                                 Saginaw-$4624.52; 7237 S
     Wire Transfer   4/16/2019   Bennett-$7235.45)                    ($11,859.97)
                                 US Treasury (unpaid 2015
            Check    4/18/2019   corporate tax)                        ($1,775.55)

     Wire Transfer   4/19/2019 Paper Street (gas & electric bills)³         ($32,411.82)
                               City of Chicago (water bill for
             ACH     4/26/2019 7933 S Essex)                                   ($133.09)
                               Paper Street (gas bills: 1700
                               Juneway-$7,603.90; 11117 S
     Wire Transfer   4/26/2019 Longwood-$17,610.43)                         ($25,214.33)
                               Paper Street (property
     Wire Transfer   4/26/2019 management expenses)                        ($153,153.07)
                               City of Chicago (water bill for
             ACH     4/26/2019 7500-08 S Eggleston)                         ($27,837.00)
                               City of Chicago (water bill for
             ACH     4/26/2019 7549-59 S Essex)                             ($21,462.80)
                               WPD (tax bills: 7502 S Eggleston-
                               $23,517.24; 7549 Essex-
     Wire Transfer   4/30/2019 $12,291.61)                                  ($35,808.85)
                               Cook County Treasurer (2017
             ACH     4/30/2019 delinquent property taxes)⁴                 ($230,628.07)
                               Applied Business Software (2d
                               installment on TMO software
            Check     5/1/2019 license)                                        ($850.00)

                               City of Chicago (payments of final
    Wire Transfers    5/2/2019 water bills on sold properties)⁵             ($80,245.66)
                               Rosenthal Bros. (down payment
                               on liability & umbrella policy
     Wire Transfer    5/6/2019 renewals)                                    ($53,323.20)
                               City of Chicago (7026 S Cornell
            Check     5/9/2019 code violations)                                ($240.00)
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                                                          Exhibit 1

                                    EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT
                                                  Second Quarter 2019
                                         Schedule of Receipts and Disbursements


                            Paper Street (relocation expenses
  Wire Transfer   5/14/2019 8107 S Ellis)                               ($5,000.00)
                            Wells Fargo (document
         Check    5/14/2019 production fees)                              ($121.00)
                            WPD (3030 E 79th replenish
                            reserve $4,000; 7750 S
                            Muskegon past due gas bills
                            $45,000; 7450 S Luella
                            repayment of WPD funds for
                            property expenses & reserve
  Wire Transfer   5/15/2019 $11,000)                                   ($60,000.00)
                            Paper Street (8107 S Ellis porch
  Wire Transfer   5/23/2019 repairs)                                   ($11,750.00)
                            Paper Street (2909 E 78th
  Wire Transfer   5/24/2019 parapet repairs)                           ($17,685.00)
                            Paper Streeet (April 2019 invoices
  Wire Transfer   5/28/2019 (5))                                       ($25,750.41)
                            Rosenthal Bros. (down payment
                            on property insurance policy
  Wire Transfer   5/29/2019 renewal)                                  ($178,759.60)
                            Dubin Singer PC (interim finance
         Check    5/29/2019 agreement)                                  ($2,000.00)
                            Paper Street (2909 E 78th roof
  Wire Transfer   5/30/2019 repairs)                                    ($4,750.00)
                            To 1102 Bingham account for
                            payment on real estate tax
 Funds Transfer   5/30/2019 agreement                                  ($11,207.96)
                            Paper Street (8107 S Ellis
 Wire Transfers    6/4/2019 masonry repairs)                            ($7,500.00)
                            Paper Street (7237 S Bennett
  Wire Transfer    6/5/2019 DAWGS installation)                         ($5,020.20)
                            Paper Street (down payment on
  Wire Transfer    6/6/2019 past due water bills)                       ($6,209.54)
                            First Funding (1st installment on
                            premium financing for general
  Wire Transfer    6/7/2019 liability & umbrella insurance)            ($21,735.26)
                            WPD (property expenses: 8201 S
                            Kingston, $8,000; 8047 S
  Wire Transfer   6/13/2019 Manistee, $8,000)                          ($16,000.00)
                            Paper Street (7201 Constance
                            gas bill, $8,700.85; 7760 Coles
  Wire Transfer   6/18/2019 disposal bill, $693.25)                     ($9,394.20)
                            Paper Street (7760 Coles utility,
                            $961.46; 7201 Dorchester utility,
  Wire Transfer   6/20/2019 $2,381.32)                                  ($3,342.78)
                            City of Chicago, Dept of Streets &
                            Sanitation (7109-19 S Calumet
         Check    6/24/2019 payment on violation)                         ($300.00)
                            City of Chicago, Dept of Streets &
                            Sanitation (2736-44 W 64th Street
         Check    6/24/2019 payment on violation)                         ($300.00)
                            First Funding (1st installment on
                            premium financing for property
  Wire Transfer   6/24/2019 liability insurance)                       ($19,864.64)
                            Paper Street (7656 S Kingston
  Wire Transfer   6/24/2019 hot water tank replacement)                 ($4,400.00)
                            Paper Street (6001 & 5959 S
  Wire Transfer   6/25/2019 Sacramento water bills)                     ($9,201.40)
                            Paper Street (7113 Calumet &
  Wire Transfer   6/25/2019 7760 Coles electric bills)                    ($689.29)
                            Paper Street (property
  Wire Transfer   6/26/2019 management expenses)                      ($139,677.70)


                            TOTAL DISBURSEMENTS:                                      ($1,292,728.44)

                            Grand Total Cash on Hand at
                            6/30/19:                                                  $1,023,577.34
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                                                                           Exhibit 1

                                                     EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT
                                                                   Second Quarter 2019
                                                          Schedule of Receipts and Disbursements


¹




² See 4/11/19 spreadsheet from Paper Street (detail for 4/8/11 payment).

³ Gas bills:
2909 E 78th                      $8,044.48
8107 S Ellis                     $4,177.39
8209 S Ellis                     $5,513.66
8326, 8334, 8342,
8352 S Ellis                    $13,914.95
Electric bills:
2909-19 E 78th                     $439.39
7600-10 S Kingston                 $321.95
                TOTAL           $32,411.82

⁴ See attached spreadsheet regarding 2017 property taxes.

⁵   All receipts and disbursements for water bills were equal except for 7947-49 S Essex, for which $1,934.36 was received and $1,934.46 was paid for final water bill.
10:10 AM                                                         Note 2 to 2Q2019 Schedule of Receipts and Disbursements
04/11/19                       Case: 1:18-cv-05587 Document #: 467 Filed: 07/31/19 Page 30 of 44 PageID #:6761
Accrual Basis
                                                                         Paper Street Realty LLC Monthly Owner Statement
                                                                                           As of March 31, 2019


                            Balance as of
                              3/31/2019        4/8 pmt      Balance        4/15 pmt      Balance      4/22 pmt       Balance     4/29 pmt      Balance      5/6 pmt        Balance
    12 Total 2738W64TH               -611.79       611.79         0.00                         0.00                       0.00                       0.00                         0.00
    14 Total 7201SDORCHES          -1,067.00     1,067.00         0.00                         0.00                       0.00                       0.00                         0.00
    11 Total 8107SELLIS            -1,196.30     1,196.30         0.00                         0.00                       0.00                       0.00                         0.00
    13 Total 7760SCOLES            -1,580.55     1,580.55         0.00                         0.00                       0.00                       0.00                         0.00
     56 Total 8326SELLIS           -2,033.94     2,033.94         0.00                         0.00                       0.00                       0.00                         0.00
    10 Total 6356-58S.CAL          -2,255.11     2,255.11         0.00                         0.00                       0.00                       0.00                         0.00
    11 Total 7959SMAR2708          -2,873.92     2,873.92         0.00                         0.00                       0.00                       0.00                         0.00
    13 Total 638-40NAVERS          -2,968.19     2,968.19         0.00                         0.00                       0.00                       0.00                         0.00
    16 Total 8209AK                -3,320.11     3,320.11         0.00                         0.00                       0.00                       0.00                         0.00
    32 Total 7748-52SESSE          -6,046.08     6,046.08         0.00                         0.00                       0.00                       0.00                         0.00
    16 Total 7656SKINGSTO          -7,164.53     1,047.01    -6,117.52       6,117.52          0.00                       0.00                       0.00                         0.00
    13 Total 6001-05S.SAC          -8,327.73                 -8,327.73       8,327.73          0.00                       0.00                       0.00                         0.00
    24 Total 7237-43SBENN          -8,668.72                 -8,668.72       8,668.72          0.00                       0.00                       0.00                         0.00
    37 Total 7201SCONSTAN          -8,967.46                 -8,967.46       1,886.03     -7,081.43     7,081.43          0.00                       0.00                         0.00
    13 Total 8000-02SJUST         -13,194.24               -13,194.24                    -13,194.24    13,194.24          0.00                       0.00                         0.00
    31 Total 2909-19E78TH         -15,623.90               -15,623.90                    -15,623.90     4,724.33    -10,899.57    10,899.57          0.00                         0.00
    30 Total 7927-49SESSE         -16,239.53               -16,239.53                    -16,239.53                 -16,239.53                 -16,239.53                   -16,239.53
    18 Total 5955-59S.SAC         -16,572.84               -16,572.84                    -16,572.84                 -16,572.84    14,100.43     -2,472.41       2,472.41          0.00
    34 Total 7600KINGST25         -17,026.44               -17,026.44                    -17,026.44                 -17,026.44                 -17,026.44      17,026.44          0.00
    23 Total 7026-42SCORN         -18,709.67               -18,709.67                    -18,709.67                 -18,709.67                 -18,709.67       5,501.15    -13,208.52
    21 Total 7109-19SCALU         -21,442.83               -21,442.83                    -21,442.83                 -21,442.83                 -21,442.83                   -21,442.83
    52 Total 6160-6212SKI         -27,476.52               -27,476.52                    -27,476.52                 -27,476.52                 -27,476.52                   -27,476.52
                              -203,367.40       25,000.00 -178,367.40       25,000.00   -153,367.40    25,000.00   -128,367.40    25,000.00   -103,367.40      25,000.00    -78,367.40




                                                                                                                                                                                         Page 1 of 1
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                               Note 4 to 2Q2019 Schedule of Receipts and Disbursments

                                        Schedule of 2017 Property Taxes Paid


                                                                          Total 2017         Paid from   Paid from
                                                                Mgmt
            Property Address                    PIN                       Delinquent        Receivership Property's
Prop                                                             Co
                                                                            Taxes             Account     Account
  #
  5    7749 S Yates Boulevard       21-30-318-013-0000          WPD            $13,973.55     $13,973.55
  8    1414 East 62nd Place         20-14-415-007-0000          WPD             $2,489.93                  $2,489.93
 8A    1418 East 62nd Place         20-14-415-008-0000          WPD             $1,176.04                  $1,176.04
 10    7301-09 S Stewart Avenue     20-28-216-001-0000          WPD            $27,614.28     $27,614.28
 12    3030 E 79th Street           21-30-416-014-0000          WPD             $4,464.75      $4,464.75
                                    21-30-416-015-0000                          $4,474.63      $4,474.63
                                    21-30-416-016-0000                            $569.32        $569.32
13     2909 E 78th Street           21-30-410-002-0000          PSR            $14,862.40     $14,862.40
15     8047-55 S Manistee Avenue    21-31-115-016-0000          WPD            $11,506.00     $11,506.00
58     5955 S Sacramento Avenue     19-13-304-023-0000          PSR            $16,537.68     $16,537.68
62     7834-44 S Ellis Avenue       20-26-320-029-0000          WPD            $18,243.46     $18,243.46
71     701 S 5th Avenue             15-11-344-001-0000          PSR            $94,018.73     $72,018.73 $22,000.00
77     7750-58 S Muskegon Avenue 21-30-400-034-0000             WPD            $18,058.79     $18,058.79
78     7201 S Constance Avenue      20-25-119-001-0000          PSR             $3,960.46      $3,960.46
97     8334-40 S Ellis Avenue       20-35-303-097-0000          PSR             $8,114.72      $8,114.72
98     8342-50 S Ellis Avenue       20-35-303-098-0000          PSR             $8,114.72      $8,114.72
99     8352-58 S Ellis Avenue       20-35-303-099-0000          PSR             $8,114.58      $8,114.58
100    11117-11119 S Longwood Drive 25-19-113-010-0000          PSR            $19,007.02                $19,007.02

                                                                           $275,301.06       $230,628.07 $44,672.99
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                       EXHIBIT 2
                      Case: 1:18-cv-05587 Document #: 467 Filed: 07/31/19 Page 33 of 44 PageID #:6764


                                                       Exhibit 2
                                        EquityBuild Receivership Properties
                                    SEC v. EquityBuild, et al. Case No. 18-cv-5587
                                                 As of July 19, 2019

                              1st Inst 2018 1st Inst 2018    2nd Inst 2018 2nd Inst 2018 2nd Inst 2018   Total Balance
     Property Address
                              Paid Amount        Balance    Billed Amount Paid Amount         Balance    (as of 7/19/19)
1700 Juneway Terrace            $19,590.30         $0.00        $17,411.72    $17,411.72        $0.00            $0.00
6949-59 S Merrill Avenue        $12,867.17         $0.00        $13,078.90    $13,078.90        $0.00            $0.00
4533-37 S Calumet Avenue         $3,645.15         $0.00         $3,176.07     $3,176.07        $0.00            $0.00
                                 $3,634.71         $0.00         $3,281.11     $3,281.11        $0.00            $0.00
                                 $3,475.10         $0.00         $3,556.08     $3,556.08        $0.00            $0.00
                                 $3,800.52         $0.00         $3,373.19     $3,373.19        $0.00            $0.00
5450-52 S Indiana Avenue         $5,285.67         $0.00         $4,298.06     $4,298.06        $0.00            $0.00
7749 S Yates Boulevard               $0.00    $14,897.28        $12,518.37         $0.00   $12,518.37       $27,415.65
6437 S Kenwood Avenue            $8,606.51         $0.00         $9,665.34     $7,000.00    $2,665.34        $2,665.34
7109-19 S Calumet Avenue         $3,535.72         $0.00         $2,023.30         $0.00    $2,023.30        $2,023.30
                                 $4,785.89         $0.00         $2,335.61         $0.00    $2,335.61        $2,335.61
                                 $4,790.04         $0.00         $2,624.00         $0.00    $2,624.00        $2,624.00
1414 East 62nd Place             $1,249.64         $0.00         $2,627.81     $2,627.81        $0.00            $0.00
1418 East 62nd Place               $587.54         $0.00          $456.36       $456.36         $0.00            $0.00
7301-09 S Stewart Avenue        $15,223.15         $0.00         $9,748.61     $9,748.61        $0.00            $0.00
3030 E 79th Street                   $0.00     $2,244.28         $2,960.79         $0.00    $2,960.79        $5,205.07
                                    $0.00      $2,249.31         $2,965.10         $0.00    $2,965.10        $5,214.41
                                  $281.76          $0.00          $266.15       $266.15         $0.00            $0.00
2909 E 78th Street                   $0.00    $15,845.49        $16,887.32         $0.00   $16,887.32       $32,732.81
8047-55 S Manistee Avenue            $0.00    $12,264.70        $12,956.00         $0.00   $12,956.00       $25,220.70
1017 W 102nd Street              $1,434.64         $0.00         $1,026.37     $1,026.37        $0.00            $0.00
1516 E 85th Place                $1,785.74         $0.00         $1,013.09     $1,013.09        $0.00            $0.00
2136 W 83rd Street               $1,452.62         $0.00          $548.61       $548.61         $0.00            $0.00
417 Oglesby Avenue               $2,766.30         $0.00         $2,480.77         $0.00    $2,480.77        $2,480.77
7922 S Luella Avenue             $1,763.65         $0.00         $1,422.99         $0.00    $1,422.99        $1,422.99
7925 S Kingston Avenue           $1,280.28         $0.00         $1,103.37     $1,103.37        $0.00            $0.00
7933 S Kingston Avenue           $1,282.71         $0.00         $1,101.34     $1,101.34        $0.00            $0.00
8030 S Marquette Avenue          $1,482.16         $0.00          $842.70       $842.70         $0.00            $0.00
8104 S Kingston Avenue           $1,929.30         $0.00         $1,150.15     $1,150.15        $0.00            $0.00
8403 S Aberdeen Street           $1,502.92         $0.00         $1,381.61     $1,381.61        $0.00            $0.00


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                              1st Inst 2018 1st Inst 2018    2nd Inst 2018 2nd Inst 2018 2nd Inst 2018   Total Balance
     Property Address
                              Paid Amount        Balance    Billed Amount Paid Amount         Balance    (as of 7/19/19)
8405 S Marquette Avenue          $1,345.33         $0.00         $1,166.30    $1,166.30         $0.00            $0.00
8529 S Rhodes Avenue             $1,737.11         $0.00         $1,507.69    $1,507.69         $0.00            $0.00
8800 S Ada Street                $1,162.84         $0.00          $891.46         $0.00      $891.46          $891.46
9212 S Parnell Avenue            $1,378.15         $0.00          $457.87      $457.87          $0.00            $0.00
10012 S LaSalle Avenue            $918.05          $0.00          $912.71      $912.71          $0.00            $0.00
11318 S Church Street            $1,281.75         $0.00          $753.37      $753.37          $0.00            $0.00
3213 S Throop Street             $1,716.77         $0.00         $4,069.38    $4,069.38         $0.00            $0.00
3723 W 68th Place                $1,576.86         $0.00         $1,694.64    $1,694.64         $0.00            $0.00
406 E 87th Place                 $1,239.17         $0.00         $1,230.80    $1,230.80         $0.00            $0.00
61 E 92nd Street                 $1,080.13         $0.00          $955.53      $955.53          $0.00            $0.00
6554 S Rhodes Avenue             $1,763.09         $0.00         $1,197.37    $1,197.37         $0.00            $0.00
6825 S Indiana Avenue            $2,012.66         $0.00         $1,031.13    $1,031.13         $0.00            $0.00
7210 S Vernon Avenue             $1,926.46         $0.00          $858.42      $858.42          $0.00            $0.00
7712 S Euclid Avenue             $1,610.45         $0.00         $1,842.58    $1,842.58         $0.00            $0.00
7953 S Woodlawn Avenue           $3,249.06         $0.00         $1,960.60    $1,960.60         $0.00            $0.00
8107 S Kingston Avenue           $1,664.92         $0.00          $993.27      $993.27          $0.00            $0.00
8346 S Constance Avenue          $1,154.68         $0.00         $1,939.87    $1,939.87         $0.00            $0.00
8432 S Essex Avenue              $1,527.44         $0.00         $1,134.04    $1,134.04         $0.00            $0.00
8517 S Vernon Avenue             $1,272.80         $0.00         $1,164.21    $1,164.21         $0.00            $0.00
2129 W 71st Street               $1,059.11         $0.00          $511.71      $511.71          $0.00            $0.00
9610 S Woodlawn Avenue           $1,465.75         $0.00         $1,574.25    $1,574.25         $0.00            $0.00
5437 S Laflin Street             $1,449.53         $0.00             $0.00        $0.00         $0.00            $0.00
                                  $651.71          $0.00             $0.00        $0.00         $0.00            $0.00
6759 S Indiana Avenue            $1,012.70         $0.00         $2,566.31    $2,566.31         $0.00            $0.00
7300-04 St Lawrence Avenue           $0.00     $4,763.00         $4,690.63        $0.00     $4,690.63        $9,453.63
7760 S Coles Avenue                  $0.00     $7,458.98        $11,038.05        $0.00    $11,038.05       $18,497.03
1401 W 109th Place               $1,591.70         $0.00          $415.82      $415.82          $0.00            $0.00
310 E 50th Street                $3,220.89         $0.00         $3,236.62    $3,236.62         $0.00            $0.00
6807 S Indiana Avenue            $1,963.75         $0.00         $3,517.16    $3,517.16         $0.00            $0.00
8000 S Justine Street                $0.00     $4,772.93         $8,582.68        $0.00     $8,582.68       $13,355.61
8107 S Ellis Avenue                  $0.00     $2,990.56         $2,371.51        $0.00     $2,371.51        $5,362.07
                                     $0.00     $2,116.91         $1,695.84    $1,695.84     $1,695.84        $3,812.75
8209 S Ellis Avenue                  $0.00     $9,545.90         $2,799.08        $0.00     $2,799.08       $12,344.98
8214 S Ingleside Avenue              $0.00     $6,061.11         $4,028.26        $0.00     $4,028.26       $10,089.37


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                                  1st Inst 2018 1st Inst 2018    2nd Inst 2018 2nd Inst 2018 2nd Inst 2018   Total Balance
      Property Address
                                  Paid Amount        Balance    Billed Amount Paid Amount         Balance    (as of 7/19/19)
5955 S Sacramento Avenue                 $0.00     $8,273.11         $9,126.65        $0.00     $9,126.65       $17,399.76
6001 S Sacramento Avenue                 $0.00     $5,727.55         $6,114.20        $0.00     $6,114.20       $11,841.75
7026 S Cornell Avenue                    $0.00     $3,738.14         $7,468.21        $0.00     $7,468.21       $11,206.35
                2015 taxes sold      $5,796.79         $0.00         $5,148.76        $0.00     $5,148.76        $5,148.76
7237 S Bennett Avenue                    $0.00    $10,636.78         $9,819.80        $0.00     $9,819.80       $20,456.58
7834-44 S Ellis Avenue              $20,946.44         $0.00        $18,557.95   $18,557.95         $0.00            $0.00
4520-26 S Drexel Boulevard          $32,829.60         $0.00        $40,156.14   $40,156.14         $0.00            $0.00
4611 S Drexel Boulevard             $27,350.04         $0.00        $19,720.44   $19,720.44         $0.00            $0.00
6751-57 S Merrill Avenue            $11,575.44         $0.00        $10,159.98        $0.00    $10,159.98       $10,159.98
7110 S Cornell Avenue               $18,943.74         $0.00         $4,126.42        $0.00     $4,126.42        $4,126.42
1131-41 E 79th Place                $15,843.13         $0.00        $16,717.32   $16,717.32         $0.00            $0.00
6217-27 S Dorchester Avenue          $8,496.49         $0.00         $9,593.02    $9,593.02         $0.00            $0.00
                                     $7,358.83         $0.00         $7,112.65    $7,112.65         $0.00            $0.00
6250 S Mozart Avenue                $12,725.23         $0.00        $12,297.18   $12,297.18         $0.00            $0.00
638 N Avers Avenue                   $7,157.29         $0.00         $5,534.63        $0.00     $5,534.63        $5,534.63
701 S 5th Avenue                         $0.00    $47,854.83        $39,239.43        $0.00    $39,239.43       $87,094.26
7024-32 S Paxton Avenue             $19,954.25         $0.00        $17,355.80   $17,355.80         $0.00            $0.00
7255-57 S Euclid Avenue             $10,655.85         $0.00         $4,558.97    $4,558.97         $0.00            $0.00
3074 Cheltenham Place               $15,179.51         $0.00        $10,845.75   $10,845.75         $0.00            $0.00
7625-33 S East End Avenue           $10,951.86         $0.00        $13,605.52   $13,605.52         $0.00            $0.00
7635-43 S East End Avenue           $14,683.60         $0.00        $10,898.23   $10,898.23         $0.00            $0.00
7750-58 S Muskegon Avenue                $0.00    $19,255.66        $13,442.25        $0.00    $13,442.25       $32,697.91
7201 S Constance Avenue                  $0.00    $12,664.20        $12,750.26        $0.00    $12,750.26       $25,414.46
2736 W 64th Street                   $2,762.34     $3,132.47         $4,715.41        $0.00     $4,715.41        $7,847.88
4317 S Michigan Avenue               $4,830.65         $0.00         $6,037.06    $6,037.06         $0.00            $0.00
6355-59 S Talman Avenue                  $0.00     $8,247.61         $9,268.09        $0.00     $9,268.09       $17,515.70
6356 S California Avenue                 $0.00     $5,911.31         $3,775.11        $0.00     $3,775.11        $9,686.42
7051 S Bennett Avenue                    $0.00    $10,920.43        $13,239.73        $0.00    $13,239.73       $24,160.16
7201-07 S Dorchester Avenue              $0.00     $6,954.25         $5,542.78        $0.00     $5,542.78       $12,497.03
7442-48 S Calumet Avenue             $6,618.45         $0.00         $6,730.59    $6,730.59         $0.00            $0.00
7508 S Essex Avenue                 $11,300.54         $0.00        $13,575.05   $13,575.05         $0.00            $0.00
7546 S Saginaw Avenue                $3,207.20     $7,116.36         $4,490.38        $0.00     $4,490.38       $11,606.74
7600 S Kingston Avenue                   $0.00    $19,928.58        $12,498.63        $0.00    $12,498.63       $32,427.21
7656 S Kingston Avenue                   $0.00     $9,713.01         $8,353.15        $0.00     $8,353.15       $18,066.16


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                                  1st Inst 2018 1st Inst 2018    2nd Inst 2018 2nd Inst 2018 2nd Inst 2018    Total Balance
      Property Address
                                  Paid Amount        Balance    Billed Amount Paid Amount         Balance     (as of 7/19/19)
7701 S Essex Avenue                 $10,015.45       $0.00            $7,087.03     $7,087.03         $0.00           $0.00
7748-50 S Essex Avenue                   $0.00 $18,644.09            $14,552.42         $0.00    $14,552.42      $33,196.51
7953-59 S Marquette Road                 $0.00   $9,091.39            $6,042.90         $0.00     $6,042.90      $15,134.29
816-20 E Marquette Road              $5,725.02       $0.00            $5,128.44     $5,128.44         $0.00           $0.00
8201 S Kingston Avenue                   $0.00   $5,472.97            $4,640.21         $0.00     $4,640.21      $10,113.18
8326-32 S Ellis Avenue                   $0.00   $8,646.64            $5,970.04         $0.00     $5,970.04      $14,616.68
8334-40 S Ellis Avenue                $151.81    $8,483.43            $5,970.24         $0.00     $5,970.24      $14,453.67
8342-50 S Ellis Avenue               $8,043.39       $0.00            $5,970.45     $5,970.45         $0.00           $0.00
8352-58 S Ellis Avenue                $943.71    $7,632.01            $5,783.88         $0.00     $5,783.88      $13,415.89
11117-11119 S Longwood Drive             $0.00 $20,271.06            $18,274.10         $0.00    $18,274.10      $38,545.16
1422 East 68th Street                $3,058.93       $0.00            $2,492.15     $2,492.15         $0.00           $0.00
2800 E 81st Street                   $5,201.59       $0.00            $3,919.74     $3,919.74         $0.00           $0.00
4750 S Indiana Avenue                $3,222.30       $0.00            $3,686.59     $3,686.59         $0.00           $0.00
5618 S Martin Luther King Drive      $1,833.26       $0.00            $2,035.24         $0.00     $2,035.24       $2,035.24
                                         $0.00   $4,758.46            $4,918.27         $0.00     $4,918.27       $9,676.73
6558 S Vernon Avenue                 $6,612.56       $0.00            $7,858.59         $0.00     $7,858.59       $7,858.59
                                         $0.00    $427.03              $355.74          $0.00      $355.74         $782.77
7450 S Luella Avenue                 $1,059.86   $7,593.80            $7,857.72         $0.00     $7,857.72      $15,451.52
7840 S Yates Avenue                  $5,191.52       $0.00            $3,883.74     $3,883.74         $0.00           $0.00
Totals                             $470,298.72 $356,305.62          $720,073.08   $354,758.60   $367,010.32     $723,315.94




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                          EXHIBIT 3
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                                     Exhibit 3
                  Projected Savings on 2018 Property Tax Liability

                     Property Address          Savings Per Year
                 6210 S. King Drive          $4,347.16
                 7201 S. Constance*          $11,150.33
                 7051 S. Bennett*            $3,537.10
                 7844 S. Ellis*              $5,224.60
                 7749 S. Yates*              $2,855.34
                 8201 S. Kingston            $4,740.03
                 7210 S. Vernon              $266.07
                 7109 S. Calumet             $1,480.63
                 6825 S. Indiana             $563.58
                 6554 Rhodes                 $142.94
                 1414 E. 62nd                $600.60
                                              Total $34,908.38
                 * 1 year only
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                          EXHIBIT 4
                                                Exhibit
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                   Receivership; Civil Court Docket No. 18-cv-05587
                                      Reporting Period 4/1/2019 to 6/30/2019

Fund Accounting (See Instructions):
                                                                             Detail           Subtotal        Grand Total
Line 1        Beginning Balance (As of 4/1/2019):                           $232,751.46                         $232,751.46
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                        $1,318.66
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties                                  $1,964,676.25
Line 8        Miscellaneous - Other¹                                        $117,559.41
                Total Funds Available (Line 1-8):                                                             $2,316,305.78
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses²                                      ($1,292,728.44)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third-Party Litigation Expenses                                                 $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                               ($1,292,728.44)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                      $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
                                             Exhibit
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                Receivership; Civil Court Docket No. 18-cv-05587
                                   Reporting Period 4/1/2019 to 6/30/2019

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund        $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1-9):                                                  ($144,679.61)
Line 13         Ending Balance (As of 6/30/2019):                                             $1,023,577.34
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents                                                        $1,023,577.44
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund - Net Assets                                      $1,023,577.44


           ¹ Corporate tax refunds from IRS, IL State ($716.61);
           reimbursement from property closings of payments on final
           water bills ($80,245.56); refund on overpaid taxes for 7500 S
           Eggleston from property mgr ($23,517.24); refund of
           insurance premiums for sold properties ($13,080.00).
           insurance ($273,682.70); property taxes ($277,644.88);
           property repairs & other expenses ($87,105.20); property
           utilities ($280,109.88); property management expenses
           ($368,581.18); property fines ($840.00); software licenses
           ($850.00); interim financing fee ($2,000.00); document
                                  Exhibit
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    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                   Receivership; Civil Court Docket No. 18-cv-05587
                      Reporting Period 4/1/2019 to 6/30/2019

                                        Receiver:
                                                                      /s/ Kevin B. Duff
                                                        (Signature)

                                                    Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                        (Printed Name)

                                            Date:                     July 23, 2019
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                          EXHIBIT 5
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                                                          Exhibit 5

                                                    Master Asset List
                                        Receiver’s Account (as of 6/30/2019)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking                                                             $1,023,577.44

                                       Receivership Defendants’ Accounts
Institution          Account Information                           Current Value¹ Amount Transferred
                                                                                  to Receiver’s
                                                                                  Account
Wells Fargo          Checking (53 accounts in the names of the        $16,321.68³          $105,870.94⁴
                     affiliates and affiliate entities included as
                     Receivership Defendants)²
Wells Fargo          Checking (account in the names of Shaun                                $23,065.43⁵
                     Cohen and spouse)
Byline Bank          Checking (2 accounts in names of                  $21,828.73
                     Receivership Defendants)
                                                                                                                        Total:
                                                                                                                  $128,936.37

                                EquityBuild Real Estate Portfolio (in Illinois)
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
1102 Bingham Street                                                                  Approximately $1.2M⁶
Houston, TX 77077

Single family home in Naples, Florida                                                                        ±$1,400,000.00⁷

                                                                         Approximate mortgage amount: $500,000.00
                                                                        Approximate value less mortgage: $900,000.00

Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ The Current Value reflects the approximate balance in the frozen bank accounts.
     ² The Receiver is investigating whether each of these accounts is properly included within the Receivership Estate.
     ³ $16,321.68 reflects the value as of 2/26/19, the date of the last update provided by Wells Fargo, despite the
     Receiver’s continued efforts to gather further information on the frozen accounts.
     ⁴ This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ⁵ This amount was transferred to the Receiver’s account as of 11/8/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ⁶ Source: Harris County Texas 2018 appraised value.
     ⁷ Source: www.zillow.com
